                     Case 2:19-cv-00436-MHT-SMD Document 1 Filed 06/21/19 Page 1 of 7

Pro Se 15(Rev. 12/16)Conaplaint for Violation ofCivil Rights(Non-Prisoner)



                                      UNITED STATES DISTIUCT COM,,Eiv E D
                                                                        for the

                                                          Middle District of Alabama           1019 JUN 2 I A cl: 53

                                                                                               DE#RA P.A.tACKETT,..CLIS
                                                                                                U.S. DISTRICT COURT
                                                                                                llDr1 MSTR1CT
                                                                                  Case No.    2             W"                   -%\\A - ANQ ,
                                                                                               (to befilled in by the Clerk's Office)
                     ADRIAN K. THOMAS
                            Plaintiff(s)
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotfit in the space above,
                                                                                  Jury Trial: (check one
                                                                                                       ) ElYes        EINo
please write "see attached"in the space and attach an additional
page with thefull list ofnames.)
                                -v-



            GOVERNOR STATE OF ALABAMA
                           Defendant(s)
(Write thefull name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotfit in the space above,please
write "see attached" in the space and attach an additionalpage
with thefull list ofnames. Do not include addresses here.)



                                COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                         (Non-Prisoner Complaint)


                                                                      NOTICE

    Federal Rules ofCivil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name ofa person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits ofa social security number; the year ofan individual's
    birth; a minor's initials; and the last four digits ofa financial account number.

   Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
   other materials to the Clerk's Office with this complaint.

   In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
   forma pauperis.




                                                                                                                                        Page 1 of 6
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Pro Se 15(Rev. 12/16)Complaint for Violation ofCivil Rights(Non—Prisoner)

I.        The Parties to This Complaint

          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                          Name                                      Adrian K. Thomas
                          Address                                   1236 Winsley Court
                                                                    Marietta                     GA                30064
                                                                               City             State              Zip Code
                          County                                   Cobb County Georgia
                          Telephone Number                         (334)803-7464
                          E-Mail Address                           akthomas999@gmail.com

          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title(ifknown)and check whether you are bringing this complaint against
                    them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                    Defendant No. 1
                          Name                                      GOVERNOR OF THE STATE OF ALABAMA
                          Job or Title (ifknown)                   OFFICE OF ME GOVERNOR
                          Address                                  600 Dexter Avenue
                                                                   Montgomery            AL                        36130
                                                                               City             State              Zip Code
                          County                                   Washington County Alabama
                          Telephone Number                         (334)242-7100
                          E-Mail Address (ifknown)

                                                                    ❑ Individual capacity   pOfficial capacity
                    Defendant No.2
                          Name
                          Job or Title(fialown)
                          Address

                                                                               City             State              Zip Code
                         County
                         Telephone Number
                         E-Mail Address (ifknown)

                                                                   El Individual capacity      Official capacity




                                                                                                                              Page 2 of 6
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Pro Se 15(Rev. 12/16)Complaint for Violation ofCivil Rights(Non-Prisoner)

                    Defendant No.3
                          Name
                          Job or Title (ifknown)
                          Address

                                                                              City                State             Zip Code
                          County
                          Telephone Number
                          E-Mail Address(iknoivn)

                                                                   El Individual capacity    El Official capacity


                    Defendant No.4
                          Name
                          Job or Title (ifknown)
                          Address

                                                                              City                State             Zip Code
                          County
                          Telephone Number
                          E-Mail Address(fknown)

                                                                   1:1 Individual capacity   ❑ Official capacity

          Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
          Federal Bureau ofNarcotics, 403 U.S. 388(1971), you may sue federal officials for the violation of certain
          constitutional rights.

          A.        Are you bringing suit against(check all that appw:

                    ❑ Federal officials(a Bivens claim)

                          State or local officials(a § 1983 claim)

          B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                    the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                    federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?



                    I was denied an oath or affirmation signed by the victim, Nabama ruled without personal jurisdiction,
                    Alabama proved no contractual obligation to pay the alleged debt.

          C.        Plaintiffs suing under Bivens may only recover for the violation ofcertain constitutional rights. If you
                    are suing under Bivens, what constitutional right(s) do you clahn is/are being violated by federal
                    officials?
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Pro Se 15(Rev. 12/16)Complaint for Violation ofCivil Rights(Non-Prisoner)




          D.        Section 1983 allows defendants to be found liable only when they have acted "tinder color of any
                    statute, ordinance, regulation, custom,or usage, of any State or Territory or the District of Columbia."
                    42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                    ofstate or local law. If you are suing under Bivens, explain how each defendant acted under color of
                    federal law. Attach additional pages if needed.
                    Under color of Alabama law, I was denied an oath or affirmation signed by the victim, Alabama
                    ruled without personal jurisdiction, Alabama proved no contractual obligation to pay the alleged debt,
                    and Alabama denied me due process and equal protection of the laws. Lori Collier Ingram,judge
                    neglected to prevent further injuries to me. Amendments IV, V, VI, XIV, Rule 12b(2), 15 USC 1692,
                    42 USC 1985, 1986.


IIL      Statement of Clahn

        State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
        alleged wrongful action., along with the dates and locations of all relevant events. You may wish to include
        further details such as the names of other persons involved in the events giving rise to your claims Do not cite
        any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
        statement ofeach claim in a separate paragraph. Attach additional pages if needed.

         A.         Where did the events giving rise to your claim(s) occur?



                    Dothan,AL In The Juvenile Court of Houston County Alabama

        B.          What date and approximate time did the events giving rise to your claim(s) occur?




                    April 5 2019 at 1:31pm


        C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                    Was anyone else involved? Who else saw what happened?)


                    On April 5,2019 at 1:28 pm I received a letter from the Unified Judicial System State of Alabama
                    stating that the order for the alias warrant was set aside conceming a child support case that has been
                    on-going since 2013. The following day I received another letter stating that the order for alias writ of
                    arrest was re-ordered for the same case. This is double jeopardy, a violation of Arnendment V. Since
                    2016, I have petitioned the Courts of Houston County Alabama as well as Alabama Office of
                    Govemor to have my case removed to federal court for Alabama's lack ofjurisdiction. I have received
                    threats of arrest from Lori Collier Ingram, Houston County judge without an oath or affirmation signed
                    by the victim which is a denial of due process of law.




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IV.      Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment,if any, you required and did or did not receive.

          Undue stress and fear of being falsely arrested and imprisoned. l now suffer from Legal Abuse Syndrome Post
         Traumatic Stress Disorder(LASPTSD)due to Alabama abusing the legal system as diagnosed by my physician
         who also ordered for me a service dog. LASPTSD is protected under the Americans with Disabilities Act
         Amendments Act.




V.       Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         Ifrequesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.


         The relief l am asking for is $35,100 for actual, compensator, and punitive damages. l want the court to grant me
         the judgement in this case and order Alabama to cease and desist in harassing me any further unless they have
         a warrant supported by oath or affirmation.




                                                                                                                    Page 5 of 6
VI.            Case
      Certification   2:19-cv-00436-MHT-SMD
                    and Closing             Document 1 Filed 06/21/19 Page 6 of 7

      Under Federal Rule ofCivil Procedure 11, by signing below,I certify to the best of my knowledge,information,
      and beliefthat this complaint:(1)is not being presented for an irnproper purpose, such as to harass, cause
      unnecessary delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
      nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
      evidentiary support or,if specifically so identified, will likely have evidentiary support after a reasonable
      opportunity for further investigation oridiscovery; and(4)the complaint otherwise complies with the
      requirements ofRule 11.



      A.      For Parties Without an Attorney

              I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
              served. I understand that my failure to keep a current address on file with the Clerk's Office may result
              in the dismissal of my case.

              Date ofsigning:              06/19/2019


              Signature ofPlaintiff
              Printed Name ofPlaintiff
                                              04(4044 AC-04(A4
                                            Adrian K. Thomas

      B.      For Attorneys

              Date ofsigning:


              Signature of Attomey
              Printed Name of Attomey
              Bar Number
              Name ofLaw Firm
              Address

                                                            City                     State          Zip Code

              Telephone Number
              E-mail Address




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